          Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 1 of 12




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 1:21-cr-605(2) (RC)
                                              :
AARON JAMES,                                  :
                                              :
                       Defendant.             :

              UNITED STATES’ MOTION TO REVOKE RELEASE ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves the Court pursuant to 18 U.S.C. § 3148(b) to issue a

warrant for the arrest of defendant Aaron James for multiple violations of the conditions of his

pre-trial release, revoke his pre-trial release order, and detain him pending sentencing.

       James stands charged with eight federal crimes in connection with his participation in the

breach of the Capitol Building and violent assault on uniformed police officers on January 6, 2021.

See ECF No. 6. In particular, James is accused of assisting a mob at a tunnel entrance to the Capitol

Building by picking up a police shield and attacking uniformed officers as those officers were

being pepper sprayed and subjected to violent physical assault with numerous makeshift weapons

including crutches, chair legs, table tops, and a large metal ladder. James was released on

conditions by an order dated October 12, 2021. See ECF No. 16.

       Since that time, Pretrial Services has alerted the Court to James’s violations on three

separate occasions. See ECF Nos. 25, 44, 58. Most recently, on July 1, 2022, Pretrial Services

informed the Court that James had flouted numerous conditions of his pre-trial release, including

by: (1) his continued possession (since at least October 20, 2021) of three knives with blades of

over six inches and a replica gun in his basement dwelling; (2) his refusal to comply with the

Officer’s instructions on October 20, 2021 and February 15, 2021 to get rid of his weapons within


                                                  1
          Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 2 of 12




24 hours; (3) his combative and threatening conduct toward Pretrial Services officers during an

June 17, 2022 inspection of James’s co-defendants’ residence; and (4) his interference with the

officers’ supervision of co-defendants Isaac Westbury and Robert Westbury. See ECF No. 58.

        James, who seems to want to dictate the terms of his own release, has shown contempt for

this Court’s directives, has made Pretrial Services understandably concerned for officer safety, and

has made nearly impossible the continued supervision of his co-defendants (and their own

compliance with the terms of their release). He remains in violation of his terms of release and

presents a danger to the community that no conditions will adequately mitigate. Accordingly, the

Court should issue a warrant for the defendant’s arrest and detain him pending sentencing.

   I.      Defendant’s Charges and Release Conditions

        Aaron James is one of four members of the Westbury family charged for crimes they

committed during the breach of the U.S. Capitol Building on January 6, 2021. James, his

stepfather, and his two half-brothers unlawfully entered the Capitol Building through the Rotunda

Door almost immediately after it was violently breached at around 2:40 p.m.




                                                 2
          Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 3 of 12




       After he left the Capitol Building, James and his half-brother, Isaac Westbury traveled to

the Lower West Terrace of the Capitol grounds, which by then was the site of some of the most

intense attacks against law enforcement officers. James and Westbury reached the front of the mob

and stood by as other rioters viciously attacked officers with various makeshift weapons:




   At around 4:28 p.m., James and Westbury went to the front of the crowd and led the attack on

the officers in the tunnel. As other rioters sprayed chemicals at the officers, James and Westbury

both grabbed police shields and charged toward the officers in the tunnel.




                                                3
Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 4 of 12




                              4
          Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 5 of 12




       For this violent and aggressive conduct during the attack on the U.S. Capitol Building,

James was charged with civil disorder, in violation of 18 U.S.C. § 231(a)(3); assaulting, resisting,

or impeding certain officers using a dangerous weapon, in violation of 18 U.S.C. § 111(a)(1) and

(b); entering and remaining in a restricted building or grounds with a deadly or dangerous weapon,

in violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A); disorderly and disruptive conduct in a

restricted building or grounds with a deadly or dangerous weapon, in violation of 18 U.S.C. §

1752(a)(2) and (b)(1)(A); engaging in physical violence in a restricted building or grounds with a

deadly or dangerous weapon, in violation of 18 U.S.C. § 1754(a)(4) and (b)(1)(A); disorderly

conduct in a Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(D); act of physical violence

in the Capitol grounds or buildings, in violation of 40 U.S.C. § 5104(e)(2)(F); and parading,

demonstrating, or picketing in a Capitol building, in violation of 40 U.S.C. § 5104(e)(2)(G).




                                                 5
           Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 6 of 12




   II.      Evidence of Violation of the Defendant’s Pre-trial Release Conditions

         Although James was charged with crimes of violence, as defined in 18 U.S.C. § 3156(a)(4),

including a violation of 18 U.S.C. § 111(a)(1) and (b), the Court determined that there was a

combination of conditions that would reasonably assure the appearance of James as required and

the safety of any other person and the community. See 18 U.S.C. § 3142(c)(1)(B) & (g).

Accordingly, the Court on October 12, 2021 ordered, among other requirements, that James must

not possess a firearm, destructive device, or other weapon, and receive and comply with courtesy

supervision of the District of Minnesota (Minneapolis). See ECF No. 16, Conditions 7(k), (t).

         Already on October 20, 2021, James was in possession of a number of items considered by

his Pretrial Services Officer to be weapons. He possessed a pellet gun, an antique firearm, a

compound bow and arrows, a shotgun shell, multiple bladed weapons, and several “buck knives.”

ECF No. 25 at 2. Because the Officer deemed those items to be weapons raising serious concerns

about officer safety, he directed James to get rid of all weapons within 24 hours and to properly

store all knives that serve a purpose other than as a weapon. Id. James indicated that he understood

and intended to comply. Id. At a hearing before the Court on October 29, 2021, counsel for James

confirmed that James would comply or had complied and there was no further dispute for the

Court’s consideration. See generally Minute Entry, 10/29/21.

         However, James did not comply. On February 15, 2022, the Pretrial Services Officer

observed some of the same knives on a shelf in James’s bedroom area. See ECF No. 44 at 2.




                                                 6
          Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 7 of 12




       When the Officer asked James why he had not removed the weapons, James responded, “if

you want to call those weapons you can tell DC about it and see what they say.” ECF No. 58-1 at

1. Due to his concerns for his own safety and in light of the continued possession of weapons by

James, the Pretrial Services Officer returned supervision to the District of Columbia. Id.

       James’s non-compliance has continued, even though he is supervised remotely. Because

his co-defendants, Robert Wesbury and Isaac Westbury, remain supervised by the District of

Minnesota, James’s basement dwelling is subject to home assessment. On June 17, 2022, Pretrial

Services conducted a visit to the Westbury home. ECF No. 58-1 at 2. James delayed the officers’

review of the basement for a significant amount of time. Id. The Pretrial Services Officer observed

the same weapons. Id.




                                                 7
          Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 8 of 12




The officers could not determine whether James possessed additional weapons due to the condition

of the room and because of their understandable concern for officer safety. Id.

       James then became confrontational with the officers and acted in a threatening manner

toward them. He stated something similar to, “are you going to yell at me for my cutlery again?”

Id. James took a position on a flight of stairs that led to the exit. Id. His voice was raised and he

made comments such as, “you tried to put me in jail over some knives,” and “you are in my house.”

Id. The Officer concluded that James was agitated and taking an inappropriate and threatening tone

and physical posture. Id. Both Pretrial Services Officers believed that their safety was being

threatened and left without further assessing the residence of Isaac and Robert Westbury. Id. The

District of Minnesota has stated that they will return supervision to the District of Columbia should

James remain in the residence. They now have determined that Isaac and Robert Westbury are in

violation of the terms of their own release since those defendants have permitted James to continue



                                                 8
            Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 9 of 12




to possess weapons and have failed to comply with the Officer’s direction to instruct James to

remove those knives. See ECF Nos. 59, 60.

   III.       Argument in Support of Pre-trial Detention

              A. Relevant Legal Standards

          Under 18 U.S.C. § 3148(a), “[a] person who has been released under section 3142 of this

title, and who has violated a condition of his release, is subject to a revocation of release.” Upon

the government’s motion to revoke a release order, such as the instant motion, “[a] judicial officer

may issue a warrant for the arrest of a person charged with violating a condition of release.” 18

U.S.C. § 3148(b). Once before the Court,

          [t]he judicial officer shall enter an order of revocation and detention if, after a hearing, the
          judicial officer – (1) finds that there is – (A) probable cause to believe that the person has
          committed a Federal, State, or local crime while on release; or (B) clear and convincing
          evidence that the person has violated any other condition of release; and

          (2) finds that (A) based on the factors set forth in section 3142(g) . . . , there is no condition
          or combination of conditions of release that will assure that the person will not flee or pose
          a danger to the safety of any other person or the community; or (B) the person is unlikely
          to abide by any condition or combination of conditions of release.” Id.

Accordingly, this Court, should consider the factors in 18 U.S.C. § 3142(g) when evaluating

whether to detain the defendant.

              B. Discussion

          James has violated the conditions of his pretrial release. First, he has been in possession of

weapons, including three knives with blades of over six inches and a replica gun, since at least

October 20, 2021. Whether or not he believes the knives to be “cutlery,” they are kept in his

basement room next to his copy of “The Bourne Ultimatum” – not in the kitchen. Pretrial Services

has good reason to be concerned about officer safety should James be permitted to continue to




                                                      9
         Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 10 of 12




keep weapons nearby, especially since James is charged a violent assault on law enforcement

officers in this very case.

        Moreover, whether or not he believes Pretrial Services to be justified in its demands, James

was ordered by the Court to comply with the supervision of the District of Minnesota. Pretrial

Services then told him, numerous times, to get rid of his knives or, if they really are cutlery, to

store those knives in the kitchen. He refused, instead suggesting that the Court would support his

defiance rather than its own Pretrial Services officers. To this day, nearly nine months after he was

told to get rid of all weapons, he has not done so.

        Even more concerning, James acted in a manner so threatening to the Pretrial Services

officers that they could not complete supervision of his co-defendants, Robert and Isaac Westbury

and will not be able to do so while James remains in the residence. Already having viciously

assaulted law enforcement officers on January 6, 2021, James was so confrontational as to cause

Pretrial Services to leave the Westbury home and propose returning supervision of those

defendants to the District of Columbia, as well. In so doing, James has essentially written the terms

of his own pretrial supervision and that of his co-defendants. None of them would be subject to

the direct supervision that was imposed as a condition of their continued release and that was

deemed necessary to reasonably assure the appearance of each and the safety of any other person

and the community.

        James’s conduct, coupled with his prior violations of his conditions of release, shows that

no condition or combination of conditions can adequately protect the public from the defendant,

and warrants immediate action by the court through the issuance of an arrest warrant. Pretrial

Services cannot safely supervise Aaron James, Robert Westbury, or Isaac Westbury while James

remains in the Westbury home. Anything short of detention would endorse James’s strategy of



                                                 10
         Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 11 of 12




blatantly violating the terms of his supervision in order to rid himself of such supervision. And this

Court’s dedicated Pretrial Services officers should not be required to risk harm so that James can

remain in his parents' basement pending trial.

       WHEREFORE, the government respectfully requests that this Court issue an arrest warrant

for the defendant, pursuant to 18 U.S.C. 3148(b), for violating his pre-trial release, revoke his pre-

trial release order, and detain him pending trial in this case.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               D.C. Bar No. 481052

                                               /s/ Jordan A. Konig
                                               JORDAN A. KONIG
                                               Supervisory Trial Attorney,
                                               U.S. Department of Justice
                                               Detailed to the U.S. Attorney’s Office
                                               For the District of Columbia
                                               P.O. Box 55
                                               Washington, D.C. 20044
                                               202-305-7917 (v) / 202-514-5238 (f)
                                               Jordan.A.Konig@usdoj.gov




                                                  11
Case 1:21-cr-00605-RC Document 62 Filed 07/15/22 Page 12 of 12




                     EXHIBIT A




                              12
